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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

NEXTERA ENERGY CAPITAL                           §
HOLDINGS, INC., et al.,                          §
                                                 §
                 Plaintiffs,                     §
                                                 §
v.                                               §                         1:19-CV-626-DII
                                                 §
KATHLEEN JACKSON, in her official capacity as §
Commissioner of the Public Utility Commission of §
Texas, et al.,                                   §
                                                 §
                 Defendants.                     §

                                         FINAL JUDGMENT

        On this date, the Court issued an order denying Defendant-Intervenors Southwestern Public

Service Company and Entergy Texas, Inc.’s motion for judgment on the pleadings, (Dkt. 225), and

granting Plaintiff NextEra’s 1 motion for judgment on the pleadings, (Dkt. 212). 2 Accordingly, the

Court renders final judgment pursuant to Federal Rule of Civil Procedure 58.

        IT IS ORDERED that judgment is awarded in favor of NextEra and Plaintiff-Intervenors

LSP Transmission Holdings II, LLC and East Texas Electric Cooperative, Inc.

        IT IS FURTHER ORDERED that the Court enters the following declaration:

                Utilities Code § 37.051, § 37.056, § 37.057, § 37.151, and § 37.154 are
                unconstitutional because they violate the dormant Commerce Clause and are
                therefore invalid and unenforceable, to the extent they grant in-state transmission
                owners the exclusive right to build or acquire transmission lines in the non-ERCOT
                regions of Texas.




1 Plaintiffs NextEra Energy Capital Holdings, Inc., NextEra Energy Transmission, LLC, NextEra Energy
Transmission Midwest, LLC, Lone Star Transmission, LLC, and NextEra Transmission Southwest, LLC
(collectively, “NextEra”).
2 Plaintiff-Intervenors LSP Transmission Holdings II, LLC’s and East Texas Electric Cooperative, Inc. joined

NextEra’s motion for judgment on the pleadings. (See Dkt. 220, at 3).
                                                     1
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    IT IS FINALLY ORDERED that the Court enters the following permanent injunction:

          Defendants are enjoined from enforcing the unconstitutional provisions of Utilities
          Code § 37.051, § 37.056, § 37.057, § 37.151 and § 37.154 in the non-ERCOT regions
          of Texas.

    The Court retains jurisdiction to enforce its permanent injunction. This case is now

CLOSED.

    SIGNED on October 28, 2024.




                                          ROBERT PITMAN
                                          UNITED STATES DISTRICT JUDGE




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